PANISH SHEA & BOYLE LLP

111 l 1 Sor\to Moniccl Boulevord, Suite 700

Los Angefes, C<J!ifornic 90025
310.477.1700 phone ' 310.477.1699f<1x

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BRIAN J. PANISH, California SBN 116060

§altish§§gsblaw. com

VIN . BOYLE, alifornia SBN 192718
bo§le§’q_§gsblaw. com

PE R . UFMAN, California SBN 269297

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P N H & BOYLE LLP _
11111 Santa Mon_lca B_oulevard, Sulte 700
Los Angeles, Cahfornla 90025
Telephc_)ne: 3 10.477. 1700
Facslm11e: 310.477.1699

PHILIP MICHELS Ca1if01‘nia State Bar NO. 57802
pmichels@mich_eiS-lew. com
Law fol_ces _of Mlchels & Levy
11755 Wllshlre Boulevard, Sulte 1300
Los An e1es, CA 90025-1540
310 4 4-1200
310 444-1211fax

Attorneys for PLAINTIFFS

THE UNITED STATES DISTRICT COURT FOR THE
CENTRAL DISTRICT ()F CALIFORNIA, WESTERN DIVISION

JEF_F_ERY JOHN HUGHES, _ _
1nd1v1dua11y and as SucceSSOr-m-lnterest
for decedent JEFFERY HUGHE_S, and
ANNIE RUTH HUGHES, 1nd1v1dua11y COMPLAINT FOR:

and as SuceeSSGr-in-interest for
decedent JEFFERY HUGHES, § PRODUCTS LIABILITY;
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_ _ NEGLIGENCE;
Plalntlffs, FRAUD - INTENTIONAL
SREPRESENTATION '
v. 4 FRAUD - NEGLIGEN)T
ISREPRESENTATION;
OLYMPUS A_MERICA, INC., a New 5 SURVIVAL ACTION'
York 001 Orau@n; OLYMPUS 6 WRGNGFUL DEATH.
CORPC) TION OF THE
AMERICAS, a NeW Yc)rk 001 oration;
OLYMPUS MEDICAL SYS MS

CORP., a JapaneSe eerporation; and
DOES 1 through 10 mcluslve,

Defendants.

JURY TRIAL DEMANDED

 

 

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Los Ange!es, C<Jlifomia 90025
310.477,1700 phone ' 310.477.\699 fox

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COMES NOW Plaintiffs JEFFERY JOHN HUGHES and ANNIE RUTH
HUGHES, individually and as successors-in-Interest for decedent JEFFERY
HUGHES (“Plaintiffs”), for claims for relief against OLYMPUS AMERICA, INC., a
New York corporation, OLYl\/IPUS CORPORATION OF THE AMERICAS, a New
York corporation, OLYMPUS MEDICAL SYSTEM CORPORATION, a Japanese

corporation, and DOES l through 10 inclusive, inclusive, (“Defendants”).

JURISDICTI()N AND VENUE

1. This is a civil action of which this Court has original jurisdiction under
28 U.S.C. § 1332 because it is a civil action between citizens of different states and
citizens of a state and citizens of a foreign state, and the amount in controversy
exceeds the sum or value of seventy-five thousand dollars, exclusive of costs and
interest

2. Venue is proper in this Couit pursuant to 28 U.S.C. § 139l(a). A
substantial portion of the events and omissions giving rise to this lawsuit occurred in
this District, and the Couit has personal jurisdiction over each of the parties as

alleged through this complaint

INTRODUCTION AND SUMMARY ()F ACTION

3. Olympus America, Inc., Olympus Coiporation of the Americas, and
Olympus Medical System Corporation ("Olympus") are in the business of
manufacturing and selling medical devices including endoscopes, which are medical
devices used in invasive medical procedures within the human body. In or about
2014, Olympus redesigned one of its endoscopes, the TJF-Q180V Duodenoscope
("Q180V Scope"). The Q180V Scope was designed and intended for repeated and
recurrent use in multiple medical procedures, on different patients After each use,
the Q180V Scope necessarily requires cleaning and disinfecting _ known as

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"1'eprocessing" - before it can be used on a new patient. A manufacturer of a medical
device like an endoscope, which is going to be used in multiple patients, has an
obligation to develop and validate a reprocessing protocol, and to incorporate this
protocol into the product's labeling.

4. The product labeling must provide sufficient instructions on how to
prepare the device for the next patient use. The manufacturer must maintain in the
Device Master Record and/or design history file as appropriate, documentation of
tests that were performed to demonstrate that the instructions are complete and
understandable and can reasonably be executed by the user. The device master record
must comply with the requirements of 21 CFR 820.181; the design history file must
comply with requirements of 21 CFR 820.30(]`). The manufacturer must ensure that
the validated reprocessing protocol is disseminated to medical facilities and
professionals

5. Olympus failed to take these critical steps with the redesigned Ql 80V
Scope. Olympus failed to provide aneffective and validated reprocessing protocol
for the redesigned Q180V Scope. lnstead, Olympus provided its customers -
medical facilities and physicians ~ with a safety cleaning protocol for an older
endoscope, with a significantly different design. As a result, end-users were not able
effectively to sanitize and clean the new redesigned Q180V Scope.

6. As a direct result of Olympus's failure to develop and validate an
effective reprocessing protocol for the redesigned Q180V Scope, the end-users
exposed multiple patients to potentially contaminated Q180V Scopes. The end-users
rely on the manufacturer of the scope to provide an effective and validated
reprocessing protocol. lt was unknown to the end-users that the old reprocessing
protocol was not effective in removing all residual body fluids and organic debris
from the device after use. These residual fluids and debris can contain microbial

contamination When microbial contamination remains on the device, the Q l 80\/

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Los Ange|es, Cc|ifornio 90025

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Scope is contaminated Any patient who underwent a medical procedure with a
contaminated Ql 80\/ Scope was exposed to serious health risks including severe
infection and death.

7. Plaintiffs' decedent JEFFERY HUGHES ("decedent"), who was a minor
at all relevant times, was exposed to a contaminated Q180V Scope when he
underwent multiple procedures with this device at UCLA Ronald Regan Medical
Center between September 2014 and December 2014. As a result of the exposure to

this contaminated device, decedent suffered significant injury and died.

PARTIES

8. Plaintiff JEFFERY JOHN HUGHES (herein "Mr. Hughes") is the
surviving father and successor-in-interest of decedent Jeffery Hughes. As such, Mr.
Hughes is one of decedent's successors-in-interest pursuant to Code osz'vz'l
Procedure § 377.11. Mr. Hughes has executed and filed with this Complaint a
declaration under penalty of perjuiy pursuant to California Coa’e of Cz`vil Procedure
§377.32. Plaintiff l\/lr. Hughes brings this complaint in his capacity as an individual
and as successor-in-interest to decedent l\/lr. Hughes is a citizen of the State of
California and resides in Los Angeles County, California.

9. Plaintiff ANNIE RUTH HUGHES (herein "Mrs. Hughes") is the
surviving mother and successor-in-interest of decedent Jeffery Hughes. As such,
l\/lrs. Hughes is one of decedent's successors-in-interest pursuant to Coa'e of Cz'vz'l
Procedure § 377.11. Mrs. Hughes has executed and filed with this Complaint a
declaration under penalty of perjury pursuant to California Code of Cz`vz`l Procedure
§377.32. Plaintiff l\/lrs. Hughes brings this complaint in her capacity as an individual
and as successor-in-interest to decedent Mrs. Hughes is a citizen of the State of
California and resides in Los Angeles County, California.

10. l\/Ir. Hughes and Mrs. Hughes are herein referred to as "Plaintiffs".

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ll. Defendant Olympus America, Inc., (hereafter "Olympus America") is a
corporation organized and existing under the laws of the State of New York.
Olympus America's principal place of business is 3500 Corporate Parkway, Center
Valley, Pennsylvania 18034. Glympus America maintains multiple offices in
California, including an office at 10863 Holder Street, Cypress, California. Among
its business activities, Olympus America sells, markets, and services Olympus
medical products in the United States, including , including endoscopes including the
specific Ql 80V Scope involved in the subject incident At all times relevant to this
action, Olympus America has conducted substantial business in California and
regularly caused its products to be sold in California. One specific way in which
Olympus America engages in the sales and marketing of its endoscopes in the
County of Los Angeles is through its Endoscopy sales group that consists of, but is
not limited to, Endoscopy Account Manager Vincent J. Hernandez, Eric Arabit, and
Katrina Respicio. Furthermore, Plaintiffs' claims for relief arise out of a specific
conduct committed in the County of Los Angeles, State of California. Therefore,
personal jurisdiction is proper under California Code of Civil Procedure § 410. 10 and
the Due Process Clauses of the Fifth and Fourteenth Amendments to the Constitution
of the United States of America.

12. Defendant Olympus Corporation of the Americas (hereafter "Olympus
Corp.") is a corporation organized and existing under the laws of the State of New
York. Olympus Coip.'s principal place of business is 3500 Corporate Parkway,
Center Valley, Pennsylvania 18034. Among its business activities, Olympus Corp. is
involved in the distribution, sales, marketing, regulatory management and services
related to Olympus medical products in the United States, including the specific
Q180V Scope involved in the subject incident At all times relevant to this action,
Olympus Corp. has conducted substantial business in California. Plaintiffs' claims

for relief arise out of a specific conduct committed in the County of Los Angeles,

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State of California. Therefore, personal jurisdiction is proper under California Code
of Civil Procedure § 410. 10 and the Due Process Clauses of the Fifth and Fourteenth
Amendments to the Constitution of the United States of America.

13. Defendant Olympus Medical System Corporation (hereafter "Olympus

~ Medical") is a foreign corporation organized and existing under the laws of Japan

with its principal place of business located at Shinjuku Monolith, 2-3-1 Nishi-
Shinjuku, Shinjuku-ku, Tokyo 163-0914, Japan. Olympus Medical designs,
manufactures, assembles, tests, markets, distributes, and sells medical endoscopes,
including the specific Q180V Scope involved in the subject incident Olympus
Medical may be served by and through the Chairman of the Board, Chief Executive
Officer, and President of Olympus l\/Iedical under Article 10(a) of the Hague Service
Convention, to which Japan is a signatory, and as is consistent with California law.
ln addition, Olympus l\/ledical may be served through Japan’s central authority
pursuant to Article 5 of the Hague Convention. At all times relevant herein,
Olympus Medical conducted substantial business in California, regularly caused its
products to be sold in California, and the claims for relief arise out of a tort
committed in California. Therefore, personal jurisdiction is proper under California
Code of Civil Procedure § 410. 10 and the Due Process Clauses of the Fifth and
Fourteenth Amendments to the Constitution of the United States of America.

14. Defendants Olympus America, Olympus Corp., and Olympus l\/ledical
(hereafter, collectively, “Olympus”) designed, developed, manufactured, adveitised,
promoted, marketed, sold and/or distributed the defective Olympus endoscopes
throughout the United States.

15. The true names and capacities of Does 1 through 10 are unknown to
Plaintiffs. Plaintiffs are informed and believes and thereon alleges that each of these
Defendants are in some way liable for the events referred to in this Complaint and

caused damage to Plaintiffs and decedent Plaintiffs will amend this Complaint and

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PANisH SHEA & BoYLE LLP

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insert the correct names and capacities of those Defendants when they are
discovered

16. At all times mentioned, each Defendant, including DOES 1 through 10,
was the representative, agent, employee, joint venturer, or alter ego of each of the
other defendants and in doing the things alleged herein was acting within the scope
of its authority as such.

17. Olympus and DOES l through 10 are collectively referred to herein as

“Defendants.”

GENERAL ALLEGATIONS

18. Olympus manufactures and sells endoscopes to be used repeatedly by
medical seivice providers in endoscopic retro grade cholangiopancreatography
procedures ("ERCP"). Specifically, Olympus designs, manufactures, assembles,
tests, markets, distributes, promotes, advertises and sells duodenoscopes, a sub-type
of endoscope, to be used by medical practitioners for internal and invasive diagnostic
and therapeutic procedures within a human's body, such as a person's hepatobiliary
and pancreatic systems.

19. Olympus has known that the complex design of its duodenoscopes
renders some paits of the medical device extremely difficult to access. As a result,
effective cleaning of its duodenoscopes is difficult Defendants have known that the
moving paits of the elevator mechanism within the duodenoscope contain
microscopic crevices that may not be reached with a brush, and that residual body
fluids and organic debris may remain in these crevices following use. Defendant
knew, or should have known, that if these residual fluids contain microbial
contamination, multiple patients would be exposed to a serious risk of harm,

including lethal infection

20. ln 2014, Olympus completely redesigned the TJF-Q180V

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Duodenoscope, broadening the range of scope positions in which the device's guide
wire can be securely locked.

21. Notwithstanding this complete redesign, Olympus failed to take any
action to update the reprocessing protocol for the TJF-Ql 80V Duodenoscope
(hereinafter "Q180V Scope"). Specifically, Defendants failed to: (a) re-evaluate the
existing safety and cleaning/disinfection protocols developed for earlier
duodenoscope models; (b) research and develop reliable safety and
cleaning/disinfection protocols for the Q180V Scope prior to marketing the product;
(c) provide purchasers and end~users with effective and validated
cleaning/disinfection protocols for the Q180V Scope at the date of sale; (d) recall the
Q180V Scope upon realizing that Olyrnpus had not updated the safety and
cleaning/disinfection protocols; and (e) provide purchasers and end-users with
effective and validated cleaning/disinfection protocols for the Q180V Scope at any
time after the date of sale.

22. Even before the redesign and subsequent sale and marketing of the
Q180V Scope, Defendants were on notice that Defendants' endoscope devices were
difficult to clean and, as such, that they posed health risks to patients exposed to the
devices. ln 2013, Olympus was informed of infections to patients in the state of
Washington involving multiple duodenoscopes from its 160 and 180 series. At least
four patients who were infected as a result of exposure to contaminated
duodenoscopes died.

23. Despite the harm that can result from inadequately disinfected Q180V
Scopes, Defendants negligently, recklessly, and with conscious disregard of the
extreme risks to the public of serious infection, pain, suffering, and death,
aggressively marketed and sold the Q l 80V Scope to medical service providers across
the United States and in California, including the University of California at Los

Angeles (UCLA) Ronald Reagan l\/ledical Center (hereafter "UCLA Hospital"),

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claiming that the product was a safe and effective device, that could be recurrently
and invasively used in multiple patients for ERCP procedures

24. A manufacturer of a medical device like an endoscope, which is going
to be used in multiple patients, has an obligation to develop and validate an effective
reprocessing protocol, and then to disseminate the protocol to medical facilities and
professionals

25. Defendants knew that end-users of the Q180V Scope relied on the
manufacturer to provide effective and validated reprocessing protocols necessary for
the safe operation of the Q180V Scope. Defendants intended and expected the
Q180V Scope to be used invasively by medical service providers, in multiple
patients across the United States. Defendants sold the Ql8OV Scope to the UCLA
Hospital with that intention and expectation

26. The UCLA Hospital complied with the reprocessing protocols provided
by Defendants in its operation and use of the Q180V Scopes it purchased from
Defendants The UCLA Hospital complied with the reprocessing protocols provided
by Defendants because Defendants represented those protocols as adequate and
effective for the safe use and operation of the Q180V Scope.

27. The reprocessing protocols provided by Defendants, to be used in the
operation of their Q180V Scope, were inadequate Despite complying with the
protocols which Defendants provided, and which Defendants instructed the UCLA
Hospital to implement, multiple patients, including Plaintiffs' decedent, were infected
with a highly drug-resistant bacteria. Specifically, as a direct and proximate result of
an ERCP procedure using Defendants' Q180V Scope, each of these individuals,
including Plaintiffs' decedent, were infected with lethal drug-resistant bacteria.

28. As a direct and proximate result of Defendants' failure to update the
reprocessing protocols for the Q180V Scope, and of their fraudulent marketing and

sale of the device as safe and effective, multiple individuals, including Plaintiffs,

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have suffered extraordinary pain and suffering, incurring both general and special

damages to be proven at trial.

FIRST CLAIM FOR RELIEF
PRODUCTS LIABILITY SOUNDING IN NEGLIGENCE
(By Plaintiffs as Successors-In-Interest for decedent JEFFERY HUGHES,
Against All Defendants)

29. Plaintiffs hereby incorporate by reference all preceding paragraphs of
this Complaint as if fully set foith here.

30. Defendants designed, manufactured, promoted, distributed, marketed,
and sold the Q180 V Scope.

31. At all times material hereto, the Q180V Scope, that was designed,
manufactured, promoted, distributed, marketed, and sold by the Defendants, was
expected to reach, and did reach, physicians and consumers, including Plaintiffs and
decedent, without substantial change to the condition in which it was sold.

32. At all times material hereto, the Q180V Scope that was designed,
manufactured, promoted, distributed, marketed, and sold by the Defendants, was in a
defective and unreasonably dangerous condition at the time it was placed in the
stream of commerce Such condition included, but is not limited to, one or more of
the following paiticulars:

a. When placed in the stream of commerce, the Q180V Scope was
designed in such a manner that it required a specific reprocessing protocol to render
it safe for re-use in subsequent procedures on new patients Olympus failed to
provide an effective and validated reprocessing protocol for the Q180V Scope, thus
rendering it unsafe for its intended use, and subjecting Plaintiff and others to risks;

b. The reprocessing protocol associated with the Q180V Scope was

insufficiently tested, rendering that reprocessing protocol unsafe and, thus, rendering

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the Q180V Scope defective; and

c. Olympus failed to develop an effective and validated reprocessing
protocol for the completely redesigned Ql 80V Scope, thus rendering the device
defective. l

d. The Q l 80V Scope has a unique design that renders it susceptible
to microbial contamination no matter how the device is cleaned, thereby rendering
the Ql 80V scope defectively designed

33. Defendants knew or should have known of the dangers associated with
the use of the Ql 80V Scope, as well as the fact that the existing reprocessing
protocol was insufficient to disinfect the newly redesigned Ql 80V Scope.
Notwithstanding this knowledge, Defendants continued to manufacture, sell,
distribute, promote and supply the Q180V Scope so as to maximize sales and profits
at the expense of the health and safety of the public. Defendants took these actions
in conscious disregard of the foreseeable harm caused by the Q180V Scope, and in
conscious disregard for the rights and safety of consumers such as decedent

34. Decedent's physicians used the Q180V Scope as directed for its intended
purpose.

35. At all times herein mentioned, the Q180V Scope was defective, and
Defendants knew that it was to be used without inspection for defects in the
reprocessing protocol. l\/loreover, neither the Plaintiffs, decedent, nor decedent's
physician knew, or had reason to know, at the time of the use of the subject products,
of the existence of the aforementioned defects Neither Plaintiffs, decedent, nor
decedent's physicians could have discovered the defects in the Q180V Scope through
the exercise of reasonable care.

36. The Ql 80V Scope had not been materially altered or modified prior to
its use in decedent

37. As a direct and proximate result of Defendants’ negligence, decedent

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suffered significant damages and injuries that ultimately resulted in his death.

SECOND CLAIM F()R RELIEF
NEGLIGENCE
(By Plaintiffs as Successors-In-Interest for decedent JEFFERY HUGHES,

Against All Defendants)
38. Plaintiffs hereby incorporate by reference all preceding paragraphs of

this Complaint as if fully set forth here.

39. Defendants had a duty to exercise reasonable care in the design,
manufacture, testing, marketing and distribution into the stream of commerce of the
Q180V Scope, including a duty to ensure that the Q180V Scope did not pose a
significantly increased risk of adverse events

40. Defendants failed to exercise reasonable care in the design,
manufacture, testing, marketing and distribution into the stream of commerce of the
Ql 80V Scope. Defendants knew, or should have known, that the Q18OV Scope
required a new reprocessing protocol unique to the Q180V Scope design and one
which was effective and validated Defendants knew that, if inadequately cleaned,
the Q180V Scope posed a significant risk of contamination giving rise to infection,
and causing injury, pain, suffering, debilitation and subsequent medical treatment,
with the attendant risks of serious injury or death, and therefore was not safe for use
on decedent or by decedent's physicians

41. Despite the fact that Defendants knew or should have known that the
Q18OV Scope lacked an adequate, effective and validated reprocessing protocol,
which was suited to the device's new design and, that if inadequately cleaned, the
Ql 80V Scope posed a significant risk of contamination giving rise to infection, and
causing pain and suffering, debilitation and subsequent medical treatment, with the

attendant risks of serious injury or death, Defendants continued to market the Ql80V

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Scope as a safe and effective device.

42. ln so doing, the Defendants failed to act as a reasonable manufacturer
and distributer of duodenoscopes

43. As a direct and proximate result of Defendants’ negligence, decedent

suffered significant damages and injuries that ultimately resulted in his death.

THIRD CLAIM FOR RELIEF
FRAUD - INTENTIONAL MISREPRESENTATION
(By PLAINTIFFS, individually and as Successors-In-Interest for decedent
JEFFERY HUGHES, Against All Defendants)

44. Plaintiffs hereby incorporate by reference all preceding paragraphs of
this Complaint as if fully set forth here.

45. Defendants owed legal duties to decedent, decedent's physicians and
Plaintiffs to disclose important material facts concerning the safety of the Ql 80V
Scope and the adequacy of the reprocessing protocol for the Q180V Scope, to ensure
it was disinfected and safe for reuse.

46. Defendants made false representations to Plaintiffs, decedent, and/ or
decedent's physicians concerning the safety of the Q180V Scope and the risks
associated with the reprocessing protocol for the Q180V Scope. Specifically,
Defendants intentionally, knowingly, or recklessly without regard for the truth,
misrepresented that the reprocessing protocol associated with the Q180V Scope was
a safe and adequate means of cleaning and disinfecting the Ql 80V Scope.
Defendants falsely represented that the Q180V Scope would be disinfected and safe
for subsequent use in a new patient after undergoing cleaning pursuant to the
reprocessing protocol. Defendants made those false representations in an effort to
mislead consumers into purchasing the Q180V Scope and using it for medical

procedures, so that Defendants could profit Through their agents, Defendants

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directly communicated these misrepresentations to decedent and/or decedent's
physicians who were decedent's fiduciaries

47. Glympus sales representatives specifically Vincent J. Hernandez, Eric
Arabit and Katrina Respicio, made the representations described above to physicians
and staff at UCLA Hospital between July 2014 and January 2015.

48. At no time prior to the use of Defendants' Ql 80V Scope in decedent did
Defendants acknowledge that the reprocessing protocol provided to UCLA Hospital
had not been Validated and proven effective in disinfecting the redesigned Q180V
Scope.

49. Defendants' representations to decedent and/or decedent's physicians
were false because in reality the reprocessing protocol was not effective to
adequately disinfect the Ql 80V Scope for re-use in a new patient As such, the
Q180V was unsafe for use. Defendants' reprocessing protocol did not eliminate all
bodily fluids and organic debris from prior use, thereby rendering the Q180V Scope
susceptible to microbial contamination Defendants' reprocessing instructions did
not prepare the Ql 80V Scope for safe re-use.

50. Defendants intended medical professionals including decedent's
physicians and patients to rely on the Defendants' the important material
representations regarding the safety of the Q180V and adequacy of the reprocessing
protocol.

51. Decedent and decedent's physicians reasonably relied on Defendants'
misrepresentations to Plaintiffs' and decedent's detriment Decedent's physicians
used a previously-used Ql 80V Scope on Plaintiff only after attempting to clean and
disinfect the Q180V Scope following Defendants' reprocessing protocol. Following
the reprocessing, Plaintiffs decedent and decedent's physicians believed the Ql 80V
Scope was safe for use on decedent when, in fact, it was contaminated with bacteria.

52. As a direct and proximate result of Plaintiffs', decedent's and decedent's

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2:15-cV-O2103-BRO-.]C Document 1 Filed 03/20/15 Page 15 of 23 Page |D #:15

physicians' detrimental reliance on Defendants' false representations decedent was

injured, thereby causing harm and damage to decedent and Plaintiffs

FOURTH CLAIM FOR RELIEF
FRAUD - NEGLIGENT MISREPRESENTATION
(By Plaintiffs individually and as Successors-In-Interest for decedent

JEFFERY HUGHES, Against All Defendants)
53. Plaintiff hereby incorporates by reference all preceding paragraphs of

this Complaint as if fully set forth here.

54. Defendants owed legal duties to decedent decedent's physicians and
Plaintiffs to disclose impoitant material facts concerning the safety of the Q180V
Scope and the adequacy of the reprocessing protocol for the Q180V Scope in
disinfecting the scope to ensure it is safe for reuse.

55. Defendants made false representations to decedent decedent's
physicians and/or Plaintiffs concerning the safety of the Ql 80V Scope and the risks
associated with the reprocessing protocol for a previously used Q180V Scope.
Defendants failed to develop an effective and validated reprocessing protocol for the
redesigned Q180V Scope and/or failed to test the existing reprocessing protocol on
the Q180V Scope and/or failed to adequately investigate prior complaints by medical
facilities of contamination of Defendants' scopes despite the fact that these devices
had been reprocessed in accordance with the recommended protocol. Nevertheless
Defendants falsely represented that the Ql80V Scope would be disinfected and safe
for subsequent use in a new patient after administration of the reprocessing protocol.
Defendants made those false representations in an effort to encourage consumers to
purchase and use the Ql 80V Scope for medical procedures so Defendants could
profit Through their agents Defendants directly communicated these

misrepresentations to decedent and/or decedent's physicians who were decedent's

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fiduciaries

5 6. Olympus sales representatives specifically Vincent J. Hernandez, Eric
Arabit and Katrina Respicio, made the representations described above to physicians
and staff at UCLA Hospital between July 2014 and lanuaiy 2015.

57. At no time prior to the use of Defendants Q180V Scope in decedent did
Defendants acknowledge that the reprocessing protocol provided to UCLA Hospital
had not been Validated and proven effective in disinfecting the redesigned Q180V
Scope.

58. Defendants' representations to decedent decedent's physicians and/or
Plaintiffs were false because in reality the reprocessing protocol was not effective to
adequately disinfect the Q180V Scope for re-use in a new patient As such, the
Q180V was unsafe for use. Defendants' reprocessing protocol did not eliminate all
bodily fluids and organic debris from prior use, thereby rendering the Q180V Scope
susceptible to microbial contamination Defendants' reprocessing instiuctions did
not prepare the Ql 80V Scope for safe re-use.

5 9. Defendants intended medical professionals including decedent's
physicians and patients including decedent to rely on the Defendants' important
material representations regarding the safety of the Q180V and adequacy of the
reprocessing protocol.

60. Decedent decedent's physicians and/or Plaintiffs reasonably relied on
Defendants' misrepresentations to decedent's and Plaintiffs detriment Decedent's
physicians used a previously-used Q180V Scope on decedent only after attempting to
clean and disinfect the Ql80V Scope following Defendants' reprocessing protocol.
Following the reprocessing, decedent and decedent's physicians believed the Q180V
Scope was safe for use on decedent when, in fact it was contaminated with bacteria.

61. As a direct and proximate result of Plaintiffs decedent and/or

decedent's physicians' detrimental reliance on Defendants' false representations

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decedent was injured, thereby causing harm and damage to Plaintiffs

FIFTH CLAIM FOR RELIEF
SURVIVAL ACTION
(By Plaintiffs as Successors-In-Interest for decedent JEFFERY HUGHES
Against All Defendants) j

62. Plaintiffs hereby incorporate by reference all preceding paragraphs of
this Complaint as if fully set forth here.

63. Decedent was exposed to Defendants' Ql 80V Scope in December 2014,
causing her to suffer fatal injuries

64. As a legal, direct and proximate result of the intentional, reckless and
negligent conduct of Defendants and each of them, as aforesaid, decedent was
injured in his person by the Defendants' product and was alive for an interval of time
following her injuries before succumbing to them and dying.

65. Decedent sustained severe injuries to his body that ultimately resulted in
his death, and therefore Plaintiffs Mr. Hughes and l\/lrs. Hughes seek all damages
accruing to the decedent in a survival action, pursuant to the California Code of Civil
Procedure § 377.34. All of said damages combine to a sum in excess of the
jurisdictional minimum of this Court including any penalties punitive or exemplary
damages that the decedent would have been entitled to had she lived, with the
exception of pain, suffering, disfigurement which will be stated according to proof,
pursuant to Section 425. 10 of the California Code of Civil Procedure.

66. Plaintiffs bring the preceding claims for relief - the first through fourth
claims herein ~ on decedent's behalf as his successors-in-interest.

67. Defendants acted with “malice” in that they engaged in despicable
conduct in conscious disregard of the rights safety and welfare of the decedent and

the Plaintiffs thereby entitling the decedent and Plaintiffs to an award of punitive

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damages pursuant to California Civil Code § 3294.
68. Defendants acted with “malice” by conduct that included, but is not
limited to the following:

a. Olympus has known that the complex design of its
duodenoscopes renders some parts of the medical device extremely difficult to
access As a result effective cleaning of its duodenoscopes is difficult Defendants
have known that the moving parts of the elevator mechanism within the
duodenoscope contain microscopic crevices that may not be reached with a brush,
and that residual body fluids and organic debris may remain in these crevices
following use. Defendant knew, or should have known, that if these residual fluids
contain microbial contamination, multiple patients would be exposed to a serious risk
of harm, including lethal infection

b. ln 2014, Olympus completely redesigned the TJF-Ql 80V
Duodenoscope, broadening the range of scope positions in which the device's guide
wire can be securely locked

c. Notwithstanding this complete redesign, Olympus failed to take
any action to update the reprocessing protocol for the TJF-Q180V Duodenoscope
(hereinafter "Ql 80V Scope"). Specifically, Defendants failed to: (a) re-evaluate the
existing safety and cleaning/disinfection protocols developed for earlier
duodenoscope models (b) research and develop reliable safety and
cleaning/disinfection protocols for the Q180V Scope prior to marketing the product
(c) provide purchasers and end-users with effective and validated
cleaning/disinfection protocols for the Q180V Scope at the date of sale; (d) recall the
Ql 80V Scope upon realizing that Olympus had not updated the safety and
cleaning/disinfection protocols and (e) provide purchasers and end-users with
effective and validated cleaning/disinfection protocols for the Q180V Scope at any

time after the date of sale.

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d. Even before the redesign and subsequent sale and marketing of
the Ql 80V Scope, Defendants were on notice that Defendants' endoscope devices
were difficult to clean and, as such, that they posed health risks to patients exposed to
the devices ln 2013, Olympus was informed of infections to patients in the state of
Washington involving multiple duodenoscopes from its 160 and 180 series At least
four patients who were infected as a result of exposure to contaminated
duodenoscopes died

e. Despite the harm that can result from inadequately disinfected
Ql 80V Scopes Defendants negligently, recklessly, and with conscious disregard of
the extreme risks to the public of serious infection, pain, suffering, and death,
aggressively marketed and sold the Q180V Scope to medical service providers across
the United States and in California, including the University of California at Los
Angeles (UCLA) Ronald Reagan l\/ledical Center (hereafter "UCLA Hospital"),
claiming that the product was a safe and effective device, that could be recurrently
and invasively used in multiple patients for ERCP procedures

f. A manufacturer of a medical device like an endoscope, which is
going to be used in multiple patients has an obligation to develop and validate an
effective reprocessing protocol, and then to disseminate the protocol to medical
facilities and professionals

g. Defendants knew that end-users of the Q180V Scope relied on the
manufacturer to provide effective and validated reprocessing protocols necessary for
the safe operation of the Q180V Scope. Defendants intended and expected the
Ql 80V Scope to be used invasively by medical service providers in multiple
patients across the United States. Defendants sold the Ql80V Scope to the UCLA
Hospital with that intention and expectation

h. The UCLA Hospital complied with the reprocessing protocols
provided by Defendants in its operation and use of the Q l 80V Scopes it purchased

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from Defendants The UCLA Hospital complied with the reprocessing protocols
provided by Defendants because Defendants represented those protocols as adequate
and effective for the safe use and operation of the Q180V Scope.

i. The reprocessing protocols provided by Defendants to be used in
the operation of their Q180V Scope, were inadequate Despite complying with the
protocols which Defendants provided, and which Defendants instructed the UCLA
Hospital to implement multiple patients including Plaintiffs' decedent were infected
with a highly drug-resistant bacteria. Specifically, as a direct and proximate result of
an ERCP procedure using Defendants' Q180V Scope, each of these individuals
including Plaintiffs' decedent were infected with lethal drug-resistant bacteria.

j. As a direct and proximate result of Defendants' failure to update
the reprocessing protocols for the Q180V Scope, and of their fraudulent marketing
and sale of the device as safe and effective, multiple individuals including decedent
have suffered extraordinaiy pain and suffering, incurring both general and special
damages to be proven at trial.

69. The above-mentioned acts and omissions were authorized and/or ratified
by managerial employees of Defendants and were carried out with the consent of
their officers directors and/ or managing agents

70. Because the acts and/or omissions of Defendants were committed in a
malicious unlawful, and/or unreasonable manner, as fully set forth above, causing
injury and damage to decedent and done with a conscious disregard of the rights and
safety of decedent Plaintiffs request the assessment of punitive damages against
Defendants in an amount appropriate to punish or set an example of Defendants and
each of them.

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SIXTH CLAIM FOR RELIEF
WRONGFUL DEATH
(By Plaintiffs individually, Against All Defendants)

71. Plaintiffs hereby incorporate by reference all preceding paragraphs of
this Complaint as if fully set forth here.

72. Plaintiffs bring this claim for relief based on Defendants’ negligence
and fraudulent actions including intentional and negligent misrepresentation and all
other actions described herein

73. As a direct and proximate result of Defendants’ conduct as alleged
herein, the wrongful death of Plaintiffs' minor son, decedent Jeffery Hughes,
occurred

74. As a direct and proximate result of Defendants’ negligence and
fraudulent actions including intentional and negligent misrepresentation and
decedent’s death, Plaintiffs have been, and will be, deprived of the love, care,
society, affection, comfort moral support protection, companionship, 'guidance,
solace, services and support of their son, and have thereby sustained, and will
continue to sustain, damages in an amount to be ascertained according to proof.

75. As a further direct and proximate result of the acts and omissions of
Defendants and the death of Plaintiffs' decedent Plaintiffs have incurred funeral and
related expenses as well as other expenses in an amount`to be ascertained according
to proof.

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DATED: March 19, 2015

 

 

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PRAYER FOR RELIEF
THEREFORE, Plaintiffs demand judgment for the following:
1. Past medical and incidental expenses according to proof;
2. Past and future loss of earnings and/or earning capacity, according to
proof;
3. F or funeral and burial expenses according to proof;
4. For the deprivation of love, care, society, affection, comfort moral
support protection, companionship, guidance, solace, services and support of
their son, decedent Jeffery Hughes;
5. Punitive and exemplary damages in an amount to be determined at trial;
6 Prejudgment and post judgment interest
7. Costs to bring this action; and
8

Such other and further relief as the court may deem just and proper.

PA SHEA & BOYLE LLP

     

 

  
 
  

Peter L. Kaufman
kaufman@psblaw. com
Attomeys for Plaintiff

   

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury as to all causes of action

DATED: March 19, 2015 HEA & BOYLE LLP

  

 

   

Peter L. Kaufman

kaufman @psblaw. com
Attorneys for Plaintiff

 

 

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